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i Attar omey for Defendant J8-2/58-3
. SMIT INE BEECHAM CORPORATION Scan Only ——
O it :d/b/a,GL XOSMITHKLINE
ro oh med UNITED STATES DISTRICT COURT
an “I 25s
Oo BH, 222 5 CENTRAL DISTRICT OF CALIFORNIA
a BB ce
aig io | WESTERN DIVISION
15 [ Inte B PAXIL PRODUCTS LIABILITY |MDL No. 1574 (MRP)
LITIGATION
16 Master File No. CV-01-7937 (MRP)
(CWx)
M THIS DOCUMENT RELATES TO:
18 14 Apodaca, 03-6583 - H&P
19
PROPOSED PORDER DISMISSING
20) AS REQUIRED BY FRCP, RULE 77(d). FOR FAILURE TO TIMELY
> . COMPLETE COURT APPROVED
ENTERED - WESTERN DIVISION MDL PLAINTIFF
29 CLERK, U.S. DISTRICT COURT QUESTIONNAIRE FORM
23 OCT 24 2006
24 CENTAA i TOF CALIFORN:
tt hai DEeUY
25 Pursuant to the Court’s Order of August 2, 2004, Defendants’ Counsel served
26 on February 11, 2005 a Notice of Overdue Discovery and Warning of Dismissal
a7 with Prejudice on Plaintiffs who had failed to timely complete and serve upon
28 Defendants the MDL Questionnaires, executed authorizations, and either responsive
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documents or letters advising Defendants that no responsive document are in the
possession of Plaintiffs or Plaintiffs’ counsel. Pursuant to the Court’s August i
2004 Order, Plaintiffs identified in Defendants’ Notice of Overdue Discovery aed
Warning of Dismissal with Prejudice were given thirty (30) days, or until March 14,
2005, to provide completed MDL Questionnaires, executed authorizations, and
either responsive documents or letters advising Defendants that no responsive
documents are in the possession of Plaintiffs or Plaintiffs’ counsel. The Plaintiffs
identified below failed to provide completed MDL Questionnaires, executed
authorizations, and either responsive documents or letters advising Defendants that
no responsive documents are in the possession of Plaintiffs or Plaintiffs’ counsel by
the March 14, 2005 deadline.

Plaintiffs’ Steering Committee and Defendants’ counsel have conferred and
acknowledge that the Plaintiffs identified below failed to complete and provide an
MDL Questionnaire as required by Defendants’ Notice of Overdue Discovery and
Warning of Dismissal with Prejudice served February 11, 2005. Pursuant to the
Court’s August 2, 2004 Order, these Plaintiffs should be dismissed with prejudice.

THEREFORE, the Court hereby dismisses WITH PREJUDICE all claims
against Defendant regarding its drug Paxil for the following Plaintiffs:

¢C—-—Annabelle+ “A.Apodaca~- ,
c_2, _ Jennifer H.Armit™ 5
(—3-~—PatriciaCarey-Wi ibum ~;
C4 4-—~ Stefanie Michelle Carter- Morales ,
Oo Kelly M: Caspers
(6. ~ Sérgio Casto”;
{— 7-——Debra LClark |
(8. Jonathan Cohn.)
(“9"~Kelly Contreras ~ ~,
CI 0-—Deborah’ Croan,
{_ Th ~ Houman Distitizad~
Cy2> “Courtney A. Dobson .
(13. Joanna Eppey ~,

(14. Jennifer Rae Falca ;
Cis, ~ Jennifer L, Fleming _— ; ,

 

 
 

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16- Jessica Marie Furland -
d7.--Justin C. Gage
&8-~ Jacqueline Galvea sy
19: Jeanne Gravés ~~ 7.
20: "Regina Emilie Hamois ,
21 Susanne M.-Hutchison
(37. TrishB. Jose
63. Kathieen M. Kear.)
O14 Michael Lekay

25. Tamar Love ~

sy

SCANNED -

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C36. Maryjayne Lynch
2 Kimberly A. McCollough. JY
(-28= Valerie Nerres + >

(29, ~ Gwendolyn J. Oglesby.
(305~ Gerald J. Owen ~

(~31._ Kevin Craig P Pearsall
32,— Tina Perry _

33 Vernelle K: Peterson '
34,” Janice Pietsch = _ ,
35,—.Susan Dyer Reynolds* _.
(36. Jason C7Samu ~~;

(37 David Michael Sexton ;

(38, Barbara Solomon-Ross_ |

(397 Martha Weaver
“40.” Kate J. Wilson :

4]... Bret. Winfrey .

Each party to bear their own costs, pursuant to Fed.R.Civ.P.41 (a).
IT IS SO ORDERED.

DATED: the 2. 2006.

Mpiheas &. khho-

The Honorable Manian#R. Pigeizer
United States District Court Jadge

 
 

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DATED: bud 9 _, 2006.

DATED: Oc* - A,2006.

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STATE OF CALIFORNIA ! 2
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COUNTY OF LOS ANGELES Om

In re Paxil Products Liability Litigation—MDL No. 1574

I am employed in the County of Los Angeles, State of California. I am over
the age of 18 and not a party to the within action. My business address is 333 South
Grand Avenue, Suite 1700, Los Angeles, CA 90071-1504.

On October 16, 2006, I served on interested parties in said action the within:

[PROPOSED] ORDER DISMISSING ACTION WITH PREJUDICE
PLAINTIFFS FOR FAILURE TO TIMELY COMPLETE COURT
APPROVED MDL PLAINTIFF QUESTIONNAIRE FORM

by placing a true copy thereof in sealed envelope(s) addressed as stated on the
attached service list.

I am readily familiar with this firm's practice of collection and processing
correspondence for mailing. Under that practice it would be deposited with the U.S.
postal service on that same day in the ordinary course of business. I am aware that
on motion of party served, service is presumed invalid if postal cancellation date or
postage meter date is more than | day after date of deposit for mailing in affidavit.

Executed on October 16, 2006 at Los Angeles, California.

\ declare under penalty of perjury under the laws of the State of California
that the foregoing is true and correct.

Elizabeth Woodfork ha prt beth,
73

(Type or print name) (Signature)

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SERVICE LIST

In re Paxil Products Liability Litigation—MDL No. 1574

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